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                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101 LEK
 CASE NAME:              ANTHONY T. WILLIAMS


       JUDGE:      Leslie E. Kobayashi           DATE:             11/25/2019

COURT ACTION: EO: COURT ORDER REGARDING MOTIONS FILED ON
NOVEMBER 22, 2019

        On November 22, 2019, pro se Defendant Anthony T. Williams (“Defendant”)
filed his: “Ex Parte Request for Transport of Incarcerated Party” (“Transportation
Request”); motion demanding that the Department of Justice change its name to either
“the Department of Injustice” or “the Department of Unlawful Prosecutions” (“DOJ
Motion”); and “First Motion in Limine” (“MIL1”). [Dkt. nos. 651, 652, 653.] The Court
FINDS all of these matters suitable for disposition without a hearing, pursuant to Local
Rule 7.1(c). Further, the Court FINDS that it is not necessary for any party to file a
response to either the DOJ Motion or MIL. The DOJ Motion and MIL1 are HEREBY
TAKEN UNDER ADVISEMENT.

       Pursuant to the deadlines issued at the August 27, 2019 status conference, any
response to the Transportation Request must be filed by December 6, 2019, and
Defendant will not be permitted to file a reply. See Minutes, filed 8/27/19 (dkt. no. 566),
at 1. The Transportation Request will be taken under advisement after the response
deadline.

       IT IS SO ORDERED.




Submitted by: Agalelei Elkington, Courtroom Manager
